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                  EXHIBIT 2
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 1
                                      IN THE UNITED STATES DISTRICT COURT
 2
                                      FOR THE NORTHERN DISTRICT OF TEXAS
 3
                                                    AMARILLO DIVISION
 4

 5   STATE OF TEXAS, STATE OF MISSOURI, )                        Civil Action No. 2:21-cv-00067-Z
                                        )
 6                                      )                        SUPPLEMENTAL DECLARATION OF
           Plaintiffs,                  )                        PRINCIPAL DEPUTY CHIEF IMMIGRATION
 7                                      )                        JUDGE DANIEL H. WEISS
        v.                              )
 8                                      )
                                        )
 9   JOSEPH R. BIDEN, JR.,              )
     IN HIS OFFICIAL CAPACITY AS        )
10
     PRESIDENT OF THE UNITED STATES, ET )
                                        )
11   AL.,

12            Defendants.

13

14

15            I, DANIEL H. WEISS, do hereby declare under penalty of perjury that the following statements

16 are true and correct to the best of my knowledge, information, and belief:

17            1. I am the Principal Deputy Chief Immigration Judge (“PDCIJ”) for the Executive Office for

18 Immigration Review (“EOIR”) and serve as the chief operating officer for all immigration courts

19 nationwide. I work for EOIR’s Office of the Chief Immigration Judge (“OCIJ”), which provides overall

20 program direction and articulates policies and procedures for the 67 immigration courts and three
                                     1
21 immigration adjudication centers.

22            2. I was appointed as PDCIJ in January 2021. Prior to my appointment as PDCIJ, I served as an

23 Assistant Chief Immigration Judge (“ACIJ”) from September 2017-January 2021, Acting Chief of Staff,

24 from April 2019-July 2019, and as an Immigration Judge (“IJ”) at the Dallas Immigration Court from

25 January 2016-September 2017.

26   1
       An immigration adjudication center is a facility where immigration judges preside over immigration proceedings via video-
     teleconference.
27
   SUPPLEMENTAL DECLARATION OF DANIEL H. WEISS
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 1         3. As PDCIJ, my responsibilities include oversight of the nationwide immigration court system,

 2 including 70 field operating locations (immigration courts and immigration adjudication centers), more

 3 than 530 immigration judges, nearly 2000 support staff. I have responsibility for the court’s docket of

 4 nearly 1.5 million cases, develop and implement nationwide policies, ensure interpretation of court

 5 proceedings into over 250 languages, and serve as a subject-matter expert to senior executive branch

 6 officials.

 7         4. I directly supervise three Regional Deputy Chief Immigration Judges (“RDCIJs”), who in turn

 8 supervise the ACIJs who are the first-line supervisors of immigration court staff. In addition to these

 9 supervisory duties, I also am tasked with overseeing and implementing special projects for OCIJ. At any

10 given time, these can include matters such as responding to internal and external audits, designing and

11 implementing process improvements for better docket management, ensuring compliance with court

12 orders and settlement agreements, engaging with public stakeholders and the immigration judges union,

13 coordinating the OCIJ performance appraisal and review process, and other duties, as needed.

14         5. As PDCIJ, I have knowledge of the policies and practices relating to immigration court

15 operations, including operations of all detained and non-detained immigration courts and immigration

16 adjudication centers nationwide.

17         6. I am familiar with the lawsuit that the States of Texas and Missouri have filed in the United

18 States District Court in the Northern District of Texas, and the court’s Memorandum Opinion and Order

19 granting the Plaintiffs’ request for a preliminary injunction and vacating the Defendant Department of

20 Homeland Security’s (“DHS”) June 1 Memorandum terminating the Migrant Protection Protocols

21 (“MPP”) program, Texas, et al., v. Biden, et al., No. 2:21-cv-00067-Z (N.D. Texas Aug. 13, 2021)

22 (“Court’s Order”).

23         7. In the course of my duties as PDCIJ, I have not participated in any of the diplomatic negotiations

24 with the Government of Mexico as part of the process to re-implement MPP.

25         8. As PDCIJ, my responsibilities in light of the Court’s Order have focused on ensuring that the

26 RDCIJs and ACIJs understand the impact of the Court’s Order, verifying that they and their court staff

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   SUPPLEMENTAL DECLARATION OF DANIEL H. WEISS
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 1 have the necessary resources and staffing to implement the Court’s Order, including confirming that

 2 adequate video-teleconference (“VTC”) units are in place where needed to conduct MPP hearings, and

 3 overseeing the realignment of immigration court dockets to ensure that MPP cases can be appropriately

 4 scheduled and adjudicated.

 5          9. I have prepared this declaration to support the Government’s Reply in Support of Its Motion to

 6 Reconsider. From my role as PDCIJ, I have personal knowledge of the facts stated in this declaration.

 7

 8 I affirm, under penalty of perjury, that the foregoing is true and correct to the best of my knowledge and

 9 belief. Executed in Rockwall, Texas.

10                                                                      Digitally signed by DANIEL
     Dated: January 11, 2022                                            WEISS
11                                               DANIEL WEISS           Date: 2022.01.11 10:16:33
                                                                        -06'00'
12                                               Daniel H. Weiss
                                                 Principal Deputy Chief Immigration Judge
13                                               Executive Office for Immigration Review
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   SUPPLEMENTAL DECLARATION OF DANIEL H. WEISS
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